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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                       )
In re:                                 )     Chapter 11
                                       )
Covington Credit of Texas, Inc.,       )
                                       )     Case No. 24-90164-MI
                      Debtor.          )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )
                                       )
In re:                                 )     Chapter 11
                                       )
CURO Group Holdings Corp.,             )
                                       )     Case No. 24-90165-MI
                      Debtor.          )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )
                                       )
In re:                                 )     Chapter 11
                                       )
Curo Financial Technologies Corp.,     )
                                       )     Case No. 24-90166-MI
                      Debtor.          )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )
                                       )
In re:                                 )     Chapter 11
                                       )
Curo Intermediate Holdings Corp.,      )
                                       )     Case No. 24-90169-MI
                      Debtor.          )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )
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                                       )
In re:                                 )     Chapter 11
                                       )
Curo Management, LLC,                  )
                                       )     Case No. 24-90190-MI
                     Debtor.           )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )
                                       )
In re:                                 )     Chapter 11
                                       )
Curo Collateral Sub, LLC,              )
                                       )     Case No. 24-90170-MI
                     Debtor.           )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )
                                       )
In re:                                 )     Chapter 11
                                       )
CURO Ventures, LLC,                    )
                                       )     Case No. 24-90172-MI
                     Debtor.           )
                                       )
Tax I.D. No.: N/A                      )
                                       )
                                       )
In re:                                 )     Chapter 11
                                       )
CURO Credit, LLC,                      )
                                       )     Case No. 24-90175-MI
                     Debtor.           )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )




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                                         )
In re:                                   )   Chapter 11
                                         )
Ennoble Finance, LLC,                    )
                                         )   Case No. 24-90177-MI
                       Debtor.           )
                                         )
Tax I.D. No.: XX-XXXXXXX                 )
                                         )
                                         )
In re:                                   )   Chapter 11
                                         )
Ad Astra Recovery Services, Inc.,        )
                                         )   Case No. 24-90179-MI
                       Debtor.           )
                                         )
Tax I.D. No.: XX-XXXXXXX                 )
                                         )
                                         )
In re:                                   )   Chapter 11
                                         )
Attain Finance, LLC,                     )
                                         )   Case No. 24-90181-MI
                       Debtor.           )
                                         )
Tax I.D. No.: XX-XXXXXXX                 )
                                         )
                                         )
In re:                                   )   Chapter 11
                                         )
First Heritage Credit, LLC,              )
                                         )   Case No. 24-90183-MI
                       Debtor.           )
                                         )
Tax I.D. No.: XX-XXXXXXX                 )
                                         )
                                         )
In re:                                   )   Chapter 11
                                         )
First Heritage Credit of Alabama, LLC,   )
                                         )   Case No. 24-90185-MI
                       Debtor.           )
                                         )
Tax I.D. No.: XX-XXXXXXX                 )
                                         )


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                                             )
In re:                                       )   Chapter 11
                                             )
First Heritage Credit of Louisiana, LLC,     )
                                             )   Case No. 24-90186-MI
                      Debtor.                )
                                             )
Tax I.D. No.: XX-XXXXXXX                     )
                                             )
                                             )
In re:                                       )   Chapter 11
                                             )
First Heritage Credit of Mississippi, LLC,   )
                                             )   Case No. 24-90187-MI
                      Debtor.                )
                                             )
Tax I.D. No.: XX-XXXXXXX                     )
                                             )
                                             )
In re:                                       )   Chapter 11
                                             )
First Heritage Credit of South Carolina,     )
LLC,                                         )
                                             )   Case No. 24-90167-MI
                      Debtor.                )
                                             )
Tax I.D. No.: XX-XXXXXXX                     )
                                             )
                                             )
In re:                                       )   Chapter 11
                                             )
First Heritage Credit of Tennessee, LLC,     )
                                             )   Case No. 24-90168-MI
                      Debtor.                )
                                             )
Tax I.D. No.: XX-XXXXXXX                     )
                                             )
                                             )
In re:                                       )   Chapter 11
                                             )
SouthernCo, Inc.,                            )
                                             )   Case No. 24-90171-MI
                      Debtor.                )
                                             )
Tax I.D. No.: XX-XXXXXXX                     )
                                             )

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                                            )
In re:                                      )   Chapter 11
                                            )
Heights Finance Holding Co.,                )
                                            )   Case No. 24-90173-MI
                      Debtor.               )
                                            )
Tax I.D. No.: XX-XXXXXXX                    )
                                            )
                                            )
In re:                                      )   Chapter 11
                                            )
Southern Finance of South Carolina, Inc.,   )
                                            )   Case No. 24-90174-MI
                      Debtor.               )
                                            )
Tax I.D. No.: XX-XXXXXXX                    )
                                            )
                                            )
In re:                                      )   Chapter 11
                                            )
Southern Finance of Tennessee, Inc.,        )
                                            )   Case No. 24-90176-MI
                      Debtor.               )
                                            )
Tax I.D. No.: XX-XXXXXXX                    )
                                            )
                                            )
In re:                                      )   Chapter 11
                                            )
Covington Credit of Alabama, Inc.,          )
                                            )   Case No. 24-90178-MI
                      Debtor.               )
                                            )
Tax I.D. No.: XX-XXXXXXX                    )
                                            )




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                                       )
In re:                                 )     Chapter 11
                                       )
Quick Credit Corporation,              )
                                       )     Case No. 24-90180-MI
                      Debtor.          )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )
                                       )
In re:                                 )     Chapter 11
                                       )
Covington Credit, Inc.,                )
                                       )     Case No. 24-90182-MI
                      Debtor.          )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )
                                       )
In re:                                 )     Chapter 11
                                       )
Covington Credit of Georgia, Inc.,     )
                                       )     Case No. 24-90184-MI
                      Debtor.          )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )
                                       )
In re:                                 )     Chapter 11
                                       )
Heights Finance Corporation,           )
                                       )     Case No. 24-90189-MI
                      Debtor.          )
                                       )
Tax I.D. No.: XX-XXXXXXX               )
                                       )




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                                                        )
In re:                                                  )       Chapter 11
                                                        )
Heights Finance Corporation,                            )       Case No. 24-90191-MI
                                                        )
                           Debtor.                      )
                                                        )
Tax I.D. No.: XX-XXXXXXX                                )
                                                        )
                                                        )
In re:                                                  )       Chapter 11
                                                        )
LendDirect Corp.,                                       )       Case No. 24-90188-MI
                                                        )
                           Debtor.                      )
                                                        )
Canadian Business No.: 80625 9321                       )
                                                        )
                                                        )
In re:                                                  )       Chapter 11
                                                        )
CURO Canada Corp.,                                      )       Case No. 24-90192-MI
                                                        )
                           Debtor.                      )
                                                        )
Canadian Business No.: 13388 1334                       )
                                                        )

                DEBTORS’ EMERGENCY MOTION FOR ENTRY OF
              AN ORDER (I) DIRECTING JOINT ADMINISTRATION OF
         RELATED CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

         Emergency relief has been requested. Relief is requested not later than 1:30p.m. (prevailing
         Central Time) on March 25, 2024.
         If you object to the relief requested or you believe that emergency consideration is not
         warranted, you must appear at the hearing if one is set, or file a written response prior to the
         date that relief is requested in the preceding paragraph. Otherwise, the Court may treat the
         pleading as unopposed and grant the relief requested.
         A hearing will be conducted on this matter on March 25, 2024 at 1:30 p.m. (prevailing Central
         Time) in Courtroom 404, 4th Floor, 515 Rusk Street, Houston, TX 77002. Participation at the
         hearing will only be permitted by audio and video connection.
         Audio communication will be by use of the Court’s dial-in facility. You may access the facility
         at 832-917-1510. Once connected, you will be asked to enter the conference room number.
         Judge Isgur’s conference room number is 954554. Video communication will be by use of the
         GoToMeeting platform. Connect via the free GoToMeeting application or click the link Judge
         Isgur’s home page. The meeting code is JudgeIsgur. Click the settings icon in the upper right
         corner and enter your name under the personal information setting.


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             Hearing appearances must be made electronically in advance of both electronic and in-person
             hearings. To make your appearance, click the “Electronic Appearance” link on Judge Isgur’s
             home page. Select the case name, complete the required fields and click “Submit” to complete
             your appearance.


             The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

the following in support of this emergency motion (the “Motion”):

                                                Relief Requested

             1.      By this Motion, the Debtors seek entry of an order, substantially in the form

attached hereto (the “Order”): (a) directing procedural consolidation and joint administration of

the Debtors’ chapter 11 cases (the “Chapter 11 Cases”) and (b) granting related relief. The Debtors

request that the United States Bankruptcy Court for the Southern District of Texas (the “Court”)

maintain one file and one docket for all of the jointly administered cases under the case of CURO

Group Holdings Corp., et al., Case No. 24-90165-MI and that these Chapter 11 Cases be

administered under a consolidated caption, as follows:

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    CURO Group Holdings Corp., et al.,                              ) Case No. 24-90165-MI
                                                                    )
                                       Debtors.1                    ) (Jointly Administered)
                                                                    )
1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/Curo. The location of the Debtors’ service address
      for purposes of these chapter 11 cases is 101 N. Main Street, Suite 600, Greenville, SC 29601.

             2.      The Debtors further request that the Court find that the foregoing caption satisfies

the requirements set forth in section 342(c)(1) of title 11 of the United States Code, 11 U.S.C.

§§ 101–1532 (the “Bankruptcy Code”).



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       3.      The Debtors also request that a docket entry, substantially similar to the following,

be entered on the docket of each of the Debtors’ cases other than the case of CURO Group

Holdings Corp. to reflect the joint administration of these Chapter 11 Cases:

               An order has been entered in accordance with Rule 1015(b) of the
               Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
               Local Rules of Bankruptcy Practice and Procedure of the United
               States Bankruptcy Court for the Southern District of Texas directing
               the joint administration of the chapter 11 cases of: CURO Group
               Holdings Corp. (Case No. 90165-MI); Curo Financial Technologies
               Corp. (Case No. 24-90166-MI); Curo Intermediate Holdings Corp.
               (Case No. 24-90169-MI); Curo Management, LLC (Case No. 24-
               90190-MI); Curo Collateral Sub, LLC (Case No. 24-90170-MI);
               CURO Ventures, LLC (Case No. 24-90172-MI); CURO Credit,
               LLC (Case No. 24-90175-MI); Ennoble Finance, LLC (Case No.
               24-90177-MI); Ad Astra Recovery Services, Inc., (Case No. 24-
               90179-MI); Attain Finance, LLC (Case No. 24-90181-MI); First
               Heritage Credit, LLC (Case No. 24-90183-MI); First Heritage
               Credit of Alabama, LLC (Case No. 24-90185-MI); First Heritage
               Credit of Louisiana, LLC (Case No. 24-90186-MI); First Heritage
               Credit of Mississippi, LLC (Case No. 24-90187-MI); First Heritage
               Credit, of South Carolina LLC (Case No. 24-90167-MI); First
               Heritage Credit of Tennessee, LLC (Case No. 24-90168-MI);
               SouthernCo Inc. (Case No. 24-90171-MI); Heights Finance Holding
               Co. (Case No. 24-90173-MI); Southern Finance of South Carolina,
               Inc. (Case No. 24-90174-MI); Southern Finance of Tennessee Inc.
               (Case No. 24-90176-MI); Covington Credit of Alabama, Inc. (Case
               No. 24-90178-MI); Quick Credit Corporation (Case No. 24-90180-
               MI); Covington Credit, Inc. (Case No. 24-90182-MI); Covington
               Credit of Georgia, Inc. (Case No. 24-90184-MI); Covington Credit
               of Texas (Case No. 24-90164-MI); Heights Finance Corporation
               (Case No. 24-90189-MI); Heights Finance Corporation (Case No.
               24-90191-MI); LendDirect Corp. (Case No. 24-90188-MI); CURO
               Canada Corp. (Case No. 24-90192-MI). The docket in Case No. 24-
               90165-MI should be consulted for all matters affecting this case. All
               further pleadings and other papers shall be filed, and all further
               docket entries shall be made, in Case No. 24-90165-MI.

                                    Jurisdiction and Venue

       4.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core



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proceeding pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent to the entry of a

final order by the Court.

       5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      The bases for the relief requested herein are Bankruptcy Code section 342(c), Rule

1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rules 1015-1

and 9013-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy

Local Rules”), and the Procedures for Complex Cases in the Southern District of Texas.

                                          Background

       7.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

businesses and managing their properties as debtors in possession pursuant to Bankruptcy Code

sections 1107(a) and 1108. Concurrently with the filing of this Motion, the Debtors filed a motion

requesting procedural consolidation and joint administration of these Chapter 11 Cases pursuant

to Bankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has been

made in these Chapter 11 Cases, and no official committees have been appointed or designated.

       8.      The Debtors and their non-Debtor affiliates (collectively, the “Company”) provide

consumer credit lending services across the U.S. and Canada. In the U.S., the Company operates

under several principal brands, including “Heights Finance,” “Southern Finance,” “Covington

Credit,” “Quick Credit,” and “First Heritage Credit.” In Canada, the Company operates under the

“Cash Money” and “LendDirect” brands.         As of the Petition Date, the Company operated

approximately 400 store locations across 13 U.S. states and approximately 150 stores in eight

Canadian provinces and had an online presence in eight Canadian provinces and one territory. The

Company generated approximately $672 million in total revenue for the fiscal year 2023, and, as



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of the Petition Date, the Company had approximately $2.1 billion in aggregate principal amount

of prepetition funded debt obligations.

       9.      A description of the Debtors and their businesses, and the facts and circumstances

supporting this Motion, are set forth in the Declaration of Douglas Clark in Support of Chapter

11 Petitions and First Day Motions (the “First Day Declaration”), filed contemporaneously with

this Motion and incorporated by reference herein.

                                          Basis for Relief

       10.     Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The Debtor entities that

commenced these Chapter 11 Cases are “affiliates” as that term is defined in Bankruptcy Code

section 101(2). Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court to

grant the relief requested herein. Bankruptcy Local Rule 1015-1 further provides for the joint

administration of related chapter 11 cases.

       11.     Joint administration of these Chapter 11 Cases will provide significant

administrative convenience without harming the substantive rights of any party in interest. Many

of the motions, hearings and orders in these Chapter 11 Cases will affect each Debtor entity. The

entry of an order directing joint administration of these Chapter 11 Cases will reduce fees and costs

by avoiding duplicative filings and objections. Joint administration also will allow the United

States Trustee for the Southern District of Texas and all parties in interest to monitor these Chapter

11 Cases with greater ease and efficiency.

       12.     Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this Motion seeks only administrative, not substantive, consolidation of the

Debtors’ estates. Parties in interest will not be harmed by the relief requested but instead will

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benefit from the cost reductions associated with the joint administration of these Chapter 11 Cases.

Accordingly, joint administration of these Chapter 11 Cases is in the best interests of the Debtors’

estates, their creditors and all other parties in interest.

                                      Emergency Consideration

         13.    The Debtors request emergency consideration of this Motion pursuant to

Bankruptcy Rule 6003 and Bankruptcy Local rule 9013-1, which empower a court to grant relief

within the first 21 days after the commencement of a chapter 11 case when that relief is necessary

to avoid immediate and irreparable harm to the estate. An immediate and orderly transition into

chapter 11 is critical to the viability of the Debtors’ operations and any delay in granting the relief

requested could hinder their operations and cause irreparable harm. The failure to receive the

requested relief during the first 21 days of these Chapter 11 Cases could severely disrupt the

Debtors’ operations at this critical juncture and imperil the Debtors’ restructuring. Accordingly,

the Debtors request that the Court approve the relief requested in this Motion on an emergency

basis.

                                                  Notice

         14.    The Debtors will provide notice of this Motion to: (a) the Office of the United

States Trustee for the Southern District of Texas; (b) the entities listed on the Debtors’ petitions as

holding the largest 30 unsecured claims (on a consolidated basis); (c) counsel to the Prepetition 1L

Agent; (d) counsel to the Prepetition 1.5L Notes Trustee; (e) counsel to the Prepetition 2L Notes

Trustee; (f) counsel to the Ad Hoc Group; (g) counsel to Atlas Securitized Products Holdings, L.P.

in its capacity as Administrative Agent; (h) counsel to Midtown Madison Management LLC as

Heights II Administrative Agent and Canada II Administrative Agent; (i) the United States

Attorney’s Office for the Southern District of Texas; (j) the Internal Revenue Service; (k) the

United States Securities and Exchange Commission; (l) the state attorneys general in the states

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where the Debtors conduct their business operations; and (m) any party that has requested notice

pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested, no further notice

is necessary.




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       WHEREFORE, the Debtors request entry of an order, substantially in the form of the Order

filed with this Motion, granting the relief requested herein and granting such other relief as the

Court deems just, proper and equitable.

Dated: March 25, 2024
       Houston, Texas
                                          /s/ Sarah Link Schultz
                                          AKIN GUMP STRAUSS HAUER & FELD LLP
                                          Sarah Link Schultz (State Bar No. 24033047;
                                          S.D. Tex. 30555)
                                          Patrick Wu (State Bar No. 24117924;
                                          S.D. Tex. 3872088)
                                          2300 N. Field Street, Suite 1800
                                          Dallas, TX 75201-2481
                                          Telephone: (214) 969-2800
                                          Facsimile: (214) 969-4343
                                          Email: sschultz@akingump.com
                                                  pwu@akingump.com

                                          -and-

                                          Michael S. Stamer (pro hac vice pending)
                                          Anna Kordas (pro hac vice pending)
                                          Omid Rahnama (pro hac vice pending)
                                          One Bryant Park
                                          New York, NY 10036-6745
                                          Telephone: (212) 872-1000
                                          Facsimile: (212) 872-1002
                                          Email: mstamer@akingump.com
                                                 akordas@akingump.com
                                                 orahnama@akingump.com

                                          Proposed Counsel to the Debtors




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                                     Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                               /s/ Sarah Link Schultz
                                                               Sarah Link Schultz


                                      Certificate of Service

        I certify that on March 25, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                               /s/ Sarah Link Schultz
                                                               Sarah Link Schultz
